          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:08CR63


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            VS.                           )           ORDER
                                          )
                                          )
HEIDI JAN MESSER                          )
                                          )


      THIS MATTER is before the Court on Defendant’s appeal from a

detention order entered by the Magistrate Judge on October 16, 2008. For

the reasons stated below, the Magistrate Judge’s order is affirmed.



                        I. PROCEDURAL HISTORY

      Defendant, along with seven others, was indicted on June 3, 2008,

and charged with one count of conspiracy to possess with intent to

distribute methamphetamine, in violation of 21 U.S.C. §§ 841 and 846; and

one count of using a communication facility in order to facilitate the

conspiracy, in violation of 21 U.S.C. § 843(b). Indictment, filed June 3,

2008, at 1-2. Defendant was arrested on June 12, 2008, and the




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Magistrate Judge ordered that she be detained pending trial because she

appeared to be a flight risk. Warrant for Arrest, filed June 16, 2008, at 1;

Order of Detention Pending Trial, filed June 25, 2008, at 4.

     On July 30, Defendant moved for a reconsideration of the detention

order, stating she was addicted to methamphetamine and desired to

receive drug treatment services through the Community Housing and

Matrix Program (CHAMP). Revised Motion for Change in Detention

Status, filed July 30, 2008, at 1. The Government consented to her

motion. Id. Following a hearing, the Magistrate Judge granted the motion

and released Defendant to participate in the 90-day CHAMP program as

soon as a bed became available. Order Setting Conditions of Release,

filed August 13, 2008, at 2. Defendant was instructed that, upon the

completion of her program, she should return for another detention

hearing. Id. At the same hearing, the Court also accepted Defendant’s

guilty plea as to the conspiracy charge. Rule 11 Inquiry and Order of

Acceptance, filed August 5, 2008, at 3.

     Defendant successfully completed CHAMP and returned for a further

detention hearing on October 14, 2008. Exhibit 3, Memorandum from

U.S. Probation Officer, attached to Notice of Appeal, filed October 16,



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2008 (recommending conditional release pending sentencing if

Defendant could find a suitable residence). At the hearing, the

Magistrate Judge ordered Defendant to be detained pending sentencing.

Order, filed October 16, 2008. This appeal followed. Notice of Appeal,

supra.



                        II. STANDARD OF REVIEW

      Detention orders entered by a magistrate judge are to be reviewed

de novo. United States v. Clark, 865 F.2d 1433, 1436 (en banc) (4th

Cir.1989) (“A defendant ordered detained by a magistrate may seek de

novo review in the district court.”).



                               III. ANALYSIS

      Following a prisoner's conviction or plea, the issue of his or her

detention is governed by 18 U.S.C. § 3143.1 Section 3143 provides, in

pertinent part:

      1
       Although section 3143 purports to apply only to those who have
been “found guilty,” the Court has previously concluded that the statute
also encompasses defendants, such as Messer, who have entered guilty
pleas. United States v. Luisa, 266 F. Supp. 2d 440, 445 (W.D.N.C.
2003).


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     The judicial officer shall order that a person who has been
     found guilty of an offense in a case described in subparagraph
     (A), (B), or (C) of subsection (f)(1) of section 3142 and is
     awaiting imposition or execution of a sentence be detained
     unless –

     (A)   (i) the judicial officer finds there is a substantial likelihood
           that a motion for acquittal or new trial will be granted; or

           (ii) an attorney for the Government has recommended
           that no sentence of imprisonment be imposed on the
           person; and

     (B) the judicial officer finds by clear and convincing evidence
     that the person is not likely to flee or pose a danger to any
     other person or the community.

18 U.S.C. § 3143(a)(2). Section 3142(f)(1)(C), which section 3143

incorporates, refers to “an offense for which a maximum term of

imprisonment of ten years or more is prescribed in the Controlled

Substances Act.” 18 U.S.C. § 3142(f)(1)(C). In this case, Defendant

indeed pled guilty to a Controlled Substances Act crime, which bore a

minimum of ten years’ imprisonment. See 21 U.S.C. § 841(a)(1) & (b)(viii)

(providing that a person who possesses with intent to distribute 500

grams or more of a mixture or substance containing a detectable

amount of methamphetamine shall be sentenced to a term of

imprisonment which may not be less than 10 years or more than life).




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      In the instant motion, Defendant does not appear to contest that her

detention pending sentencing was proper under what she describes as a

“strict” application of section 3143. Notice of Appeal, supra, at 2. She

also offers no evidence that either of the conditions listed in subsection

(a)(2)(A) exist in this case.2 Nonetheless, she argues that, at the time she

entered her guilty plea, the policy in this District was that decisions about

release pending sentencing would rest within the Magistrate Judge’s

discretion. “Because she entered a plea and her bond was set prior to this

District’s policy change,” she contends, “her conditions of bond should be

set as if the former policy were in effect. Holding otherwise would punish

qualified individuals for an administrative policy change.” Id. at 3.

          By challenging what amounts to retroactive application of the

District’s change of policy, Defendant appears to be making a species of

ex post facto argument. In order to violate the Constitution’s Ex Post Facto

Clause, however, a retroactive change in policy must create a sufficient



      2
       As Defendant meets neither of the two alternate conditions for
release under section 3143(a)(2)(A), the Court need not reach the question
of whether Defendant meets the second mandatory condition under
subsection (B). See United States v. Irvin, 2 F.3d 72, 73 n. 1 (4th
Cir.1993) (noting that both subsections (A) and (B) of § 3143(a)(2)
must be satisfied in order to grant release pending sentencing).


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risk that a prisoner's punishment will be increased. See U.S. Const. art. 1,

§ 10, cl. 1; Otto v. Warden, FCI-Allenwood, 209 F. App’x 149, 152 (3d

Cir. 2006) (reaching a similar conclusion in the context of a

retroactive change in BOP policy). In this case, Defendant will receive

credit against her prison sentence for any time served prior to sentencing,

and thus detaining her in custody between plea and sentencing leaves no

risk that her punishment will increase. For this reason, Defendant’s

argument is without merit.

     As Defendant offers no other arguments as to why her detention

order should be overturned, her motion will be denied.



                                IV. ORDER

     IT IS, THEREFORE, ORDERED that Defendant’s appeal is hereby

DENIED.

     IT IS FURTHER ORDERED that the Magistrate Judge’s detention

order of October 16, 2008, is hereby AFFIRMED.




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                               Signed: October 24, 2008




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